              Case 3:24-cv-01198-JR      Document 20     Filed 10/29/24      Page 1 of 4




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         Of            for Defendants
         Of Attorneysfor
         Lake Oswego School District and
                                      and
         Lake Oswego School Board




                                IN THE UNITED STATES DISTRICT COURT

                                    FOR THE DISTRICT OF OREGON

                                        PORTLAND DIVISION

      JOHN PARKS,                                                    Case No. 3:24-cv-1198-JR

                   Plaintiff,                          LAKE OSWEGO SCHOOL DISTRICT
                                                            AND LAKE OSWEGO SCHOOL
              v.                                       BOARD’S MOTION FOR EXTENSION
                                                       BOARD'S
                                                        TO RESPOND TO FIRST AMENDED
      LAKE OSWEGO SCHOOL DISTRICT;                                        COMPLAINT
      LAKE OSWEGO SCHOOL BOARD;
      OREGON SCHOOL ACTIVITIES
      ASSOCIATION; PORTLAND PUBLIC
      SCHOOLS; and MARSHALL HASKINS,
      individually and in his representative
                for OREGON SCHOOL
      capacity for
      ACTIVITIES ASSOCIATION
                     ASSOCIATION and
      PORTLAND PUBLIC SCHOOLS,

                   Defendants.


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Page 1 -    LAKE OSWEGO SCHOOL DISTRICT AND LAKE                          HART WAGNER LLP
                                                                   1000 S.W. Broadway, Twentieth Floor
            OSWEGO SCHOOL BOARD’S
                           BOARD'S MOTION FOR                             Portland, Oregon 97205
            EXTENSION TO RESPOND TO FIRST AMENDED                        Telephone: (503) 222-4499
                                                                         Facsimile: (503) 222-2301
            COMPLAINT
              Case 3:24-cv-01198-JR        Document 20        Filed 10/29/24       Page 2 of 4




                                       LR 7-1(a) CERTIFICATION

              Pursuant to LR 7-1, the undersigned certifies that counsel for defendants Lake Oswego

      School District and Lake Oswego School Board conferred with counsel for plaintiff and plaintiff

      does not oppose this motion.

                                                 MOTION

              Defendants Lake Oswego School District and Lake Oswego School Board ("Moving

      Defendants") respectfully request an extension of time, up to and including November 19, 2024,

      to respond to plaintiff's
                    plaintiffs First Amended Complaint. Moving Defendants request this extension

      because Moving Defendants lead counsel, Karen O'Kasey, is currently in the midst of a two-

      week trial in Laura Minthorne
                          Minthorne v. Legacy Health, et. al., Multnomah Co. Case No. 21CV49286.

      Additionally, Ms. O'Kasey and Moving Defendants' counsel, Taylor Lewis, have a four-day trial

      beginning on November 12, 2024, in Marie
                                         Marie Tyvoll v. City of
                                                              of Portland et. al., 3:20-cv-01878-IM

      (D. Or.).

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                                                                         1000 S.W. Broadway, Twentieth Floor
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             This motion is made in good faith and not for purposes of delay. Plaintiff filed the First

      Amended Complaint on October 7, 2024, and this is the Moving Defendants' first request for an

      extension. Moving defendants bring this motion without waiving any potential defense.

             DATED this 29th day of October, 2024.

                                                         HART WAGNER, LLP


                                                 By:     /s/ Taylor B. Lewis
                                                                O’Kasey, OSB No. 870696
                                                         Karen O'Kasey,
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                                                         Lake Oswego School District and
                                                                                     and
                                                         Lake Oswego School Board




Page 3 -   LAKE OSWEGO SCHOOL DISTRICT AND LAKE                                   HART WAGNER LLP
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           COMPLAINT
           Case 3:24-cv-01198-JR          Document 20      Filed 10/29/24          Page 4 of 4




                                     CERTIFICATE OF SERVICE

           I hereby certify that on the 29th day of October, 2024, I served the foregoing LAKE

    OSWEGO SCHOOL DISTRICT AND LAKE OSWEGO SCHOOL BOARD'S
                                                  BOARD’S MOTION

    FOR EXTENSION TO RESPOND TO FIRST AMENDED COMPLAINT on the following

    parties at the following addresses:

           Luke D. Miller
           Miller Bradley Law LLC
           1567 Edgewater St NW PMB 43
           Salem OR 97304
           office@millerbradleylaw.com

           M.E. Buck Dougherty III
           Liberty Justice Center
           Building 2
           13341 W. U.S. Highway 290
           Austin, TX 78737
           bdougherty@libertyjusticecenter.org
              Of            for Plaintiff
              Of Attorneysfor   Plaintiff

    by electronic means through the Court’s
                                    Court's Case Management/Electronic Case File system.


                                                     /s/ Taylor B. Lewis
                                                     Taylor B. Lewis




Page 1 - CERTIFICATE OF SERVICE                                                   HART WAGNER LLP
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